Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 1 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 2 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 3 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 4 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 5 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 6 of 7
Case 20-14229-pmm   Doc   Filed 11/03/21 Entered 11/03/21 12:23:37   Desc Main
                          Document      Page 7 of 7
